Case 1:21-cv-00326-ECM-SMD Document 1-1 Filed 04/30/21 Page 1 of 4
                                       DOCUMENT 2
                                                                            ELECTRONICALLY FILED
                                                                               12/29/2020 3:14 PM
                                                                              71-CV-2020-900162.00
                                                                              CIRCUIT COURT OF
                                                                           COFFEE COUNTY,ALABAMA
                                                                             AMY L. REEVES,CLERK
                              IN THE CIRCUIT COURT
                          OF COFFEE COUNTY, ALABAMA


JAMES W. PAIR,JR.,                           )        CASE NO.71-CV-2020-
                                             )
                Plaintiff,                   )
                                             )
       v.                                    )
                                             )
WAL-MART STORES EAST, L.P., and )
FICTITIOUS DEFENDANTS A, B, C, and )
D, being those persons, corporations, and )
any other legal entity that may have caused, )
contributed to, or combined to cause injuries)
or damage to Plaintiff on or about June 8, )
2019,and whose true and correct names are )
unknown at present, but will be added by )
amendment when ascertained,                  )
                                             )
               Defendants.                   )


                                 COMPLAINT


       COMES NOW Plaintiff, James W.Pair, Jr., by and through his counsel of record,

and states as follows:

                                     THE PARTIES

        I.     Plaintiff is an individual over the age of nineteen (19) years and is a bona

fide resident citizen of New Brockton, Coffee County, Alabama.

        2.     Defendant, Wal-Mart Stores East, L.P., operates a chain of retail stores

throughout Alabama, including the store in Enterprise, Coffee County, Alabama, where

Plaintiff was injured. Wal-Mart Stores East, L.P.'s Registered Agent in Alabama is

located at Two North Jackson Street, Suite 605, Montgomery, Alabama 36104.




                                             1


                                                                                   EXHIBIT A
Case 1:21-cv-00326-ECM-SMD Document 1-1 Filed 04/30/21 Page 2 of 4
                                         DOCUMENT 2




         3.     Fictitious Defendants A, B,C,and D: Fictitious Defendant A being the

correct name of Wal-Mart Stores East, L.P.; Fictitious Defendant B being the correct

 Legal Entity engaging in Business in Coffee County, Alabama; Fictitious Defendant C

 being the person or entity that had supervisory responsibility for the conditions leading to

 Plaintiffs injury; and Fictitious Defendant D being the correct lawful name of those

 persons, corporations, firms or other entities whose wrongful conduct caused or

contributed to cause the injuries and damages to Plaintiff; all of whose true and correct

names are unknown to Plaintiff at this time, but will be substituted by amendment when

ascertained.

         4.     The acts and omissions made the basis ofthis Complaint were performed

or omitted by Defendants or their empioyees occurred in Coffee County, Alabama. The

acts and omissions made the basis of this Complaint performed or omitted by Wal-Mart

or by an entity or persons having supervisory authority over the unknown employee

occurred in Coffee County, Alabama.

                                          COUNT I

        5.      On or about June 8, 2019, Plaintiff, while on Defendant's business

premises located at 600 Boll Weevil Circle, Enterprise, Alabama,and as a business

invitee of Defendant, was shopping in Defendant's store. Due to Defendant's(including

Fictitious Defendants A,B, C,and D)failure to maintain the premises in a reasonably

safe condition, Plaintiff was caused to trip and fall, suffering injuries to his head, hip,

back, and leg. Plaintiff sustained serious, painful and permanent injuries.




                                               2

                                                                                      EXHIBIT A
Case 1:21-cv-00326-ECM-SMD Document 1-1 Filed 04/30/21 Page 3 of 4
                                       DOCUMENT 2




       6.      Defendants (including Fictitious Defendants A, B, C,and D), as

proprietors of a business premises in Coffee County, Alabama, had a duty to maintain the

premises in a reasonably safe condition for business invitees.

       7.      Defendants(including Fictitious Defendants A,B, C,and D)breached its

duty as follows:

       (a)    Defendants (including Fictitious Defendants A, B, C,and D)
              negligently and/or wantonly failed to maintain the premises in a
              reasonably safe condition for individuals who were lawfully upon
              the premises during business hours;

       (b)    Defendants(including Fictitious Defendants A, B, C,and D)
              negligently and/or wantonly allowed or created the dangerous
              condition by leaving a clear liquid on floor not readily identifiable
              as a dangerous obstacle to customers. Defendants know or should
              have known that leaving the slippery substance on the floor was
              dangerous for Plaintiff and other invitees;

       (c)    [f Defendants (including Fictitious Defendants A,B,C,and D)did
              not have actual knowledge of the conditions complained of,
              Defendants negligently and/or wantonly failed to inspect the
              premises in order to discover and correct the dangerous conditions
              existing there; and

      (d)     Defendants (including Fictitious Defendants A, B, C,and D)
              negligently and/or wantonly failed to take adequate precautions to
              warn Plaintiffofsaid dangerous conditions.

       8.     As a proximate result and consequence of Defendants' negligence and

wantonness, Plaintiff suffered the following injurie and damages:

       Plaintiff suffered severe injuries to his head, hip, back, and leg to the
       extent that he required extensive medical treatment to address the injuries
       receive. He suffered great physical pain and mental anguish. He has
       undergone doctor, hospital, therapy and drug treatment in an effort to cure
       his injuries and will in the future be caused to undergo doctor therapy, and
       drug treatment in an effort to cure his injuries. Plaintiff was permanently
       injured, scarred, and damaged as a result of said injuries and will remain
       permanently injured and damaged in the future. Plaintiff was caused to
       expend great sums of money in an effort to cure his injuries and damages
       and is expected to expend sums of money in the future for such treatment



                                            3

                                                                                      EXHIBIT A
Case 1:21-cv-00326-ECM-SMD Document 1-1 Filed 04/30/21 Page 4 of 4
                                         DOCUMENT 2




       and is entitled to recover the same. Plaintiff was caused to Iose wages and
       will lose wages in the future. Plaintiff was otherwise injured and
       damaged. Plaintiff seeks compensation for all of his hereinabove injuries
       and damages as well as other just compensation to which he is entitled
       under the laws of the State of Alabama.

        WHEREFORE, Plaintiff demandsjudgment against Defendant and/or Fictitious

Defendants A, B,C,and D, for compensatory damage in an amount sufficient to

compensate the Plaintiff for injuries and damages related to and caused by Defendant's

conduct, and an award of Punitive Damages sufficient to punish Defendant for their

conduct in such a sum as rnay be assessed by a jury, together with the cost of this action.

        RESPECTFULLY SUBMITTED this the 29th day of Decernber, 2020.



                                              STEPHEN G. McGOWAN,LLC

                                                    Stephen G. McGowan /s/
                                             STEPHEN G. McGOWAN(MCG071)
                                             207 West Troy Street
                                             Dothan, AL 36303
                                             (334)699-6688
                                             (334)699-6707(fax)
                                             smcgowan(agraceba.net
                                             Attorney for Plaintiff


                                    JURY DEMAND

   Plaintiff demands trial by struck jury as to all counts of Plaintiffs Complaint.


Serve Defendant via certified mail at:

Wal-Mart Stores East, L.P.
c/o CT Corporation System
Two North Jackson Street #605
Montgomery, AL 36104




                                             4

                                                                                   EXHIBIT A
